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November 10, 2022
VIA EMAIL
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Jordi Guso
Berger Singerman
1450 Brickell Avenue, Suite 1900
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Re:      Demand for Reconstitution of the Board of Directors of Debtor Entities in In re Vital
         Pharmaceuticals, Inc., et al. (the “Debtors” or “Company”), Case No. 22-17842 (PDR)
         (Bankr. S.D. Fla.) (the “Chapter 11 Cases”)

Dear Mr. Sorkin and Mr. Guso:

We write on behalf of our client, the Official Committee of Unsecured Creditors in these Chapter
11 Cases (the “Committee”), to advise you of the Committee’s concerns regarding the impartiality
and independence of two putative members of the Debtors’ Board of Directors (the “Board”).
Based on the Committee’s findings to date in our ongoing investigation of the independence and
impartiality of these members of the Board, the Committee demands that these members be
removed from the Board, 1 and suggests that we come to an agreement as soon as possible regarding
any new Board members. We also ask, as discussed below, for certain additional material relating
to the members in question in aid of the Committee’s ongoing investigation.

In particular, the First Day Affidavit 2 states that the Debtors’ Chief Executive Officer John H.
Owoc intends to appoint Dr. Guillermo Escalante and Eric Hillman (together, the “Members”) to
the Board for each of the Debtor entities. The Members were characterized in the First Day
Declaration as “two members unaffiliated with the Company”. This characterization is false, and
suggests that certain of the Company’s individuals were unaware of material information when
preparing the First Day Affidavit. Specifically, the Committee’s investigation to date has revealed

1
  Our understanding is that these individuals were appointed to the Board, albeit with some delay. At the time of filing
of the First Day Affidavit, the individuals were not yet appointed.
2
  Declaration of John C. DiDonato in Support of Chapter 11 Petitions and First Day Pleadings [Docket No. 26] (the
“First Day Affidavit”).
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that the Members are, in fact, closely affiliated with the Company and with Mr. Owoc personally.
This defeats the whole purpose of adding additional members to the Board, previously comprised
solely of Mr. Owoc; as a reconstituted Board was presumably meant to wrest sole control of the
Debtors from Mr. Owoc and incorporate the views of qualified and independent professionals,
which is key to the restructuring process. Our preliminary findings, which are already sufficient
to disqualify the Members, are set forth below.

Dr. Guillermo Escalante

Far from being unaffiliated, the Company has a history of paying Dr. Escalante personally for
various services. In connection with the trial and arbitration involving Orange Bang, Inc. (“Orange
Bang”) and Monster Energy Company (“Monster”), which ended disastrously for the Company,
the arbitrator noted that the Company paid Dr. Escalante to act as “its most important expert” on
the question of whether the product at issue was “creatine-based”—a claim that was adjudicated
during the litigations to be specious. 3 The arbitrator also observed, to Dr. Escalante’s discredit,
that he “made some very significant admissions, some of which can only be characterized as
stunning and not helpful in advancing [the Company’s] position in the case . . . .” 4 Indeed, in
those litigations, both Orange Bang and Monster raised similar concerns about Dr. Escalante’s
ability to act as an unbiased and untainted “expert.” Specifically, Orange Bang and Monster raised
issues of bias because Dr. Escalante had rendered services to the Company as an influencer and
promoter of the Company’s products. 5 At the recent trial on September 20, 2022, Dr. Escalante
himself testified that he had worked as a consultant for the Company on “an on-and-off basis” for
three years. 6 He also testified that he previously served as an “expert” on creatine on behalf of the
Company in another matter. 7 In addition, Dr. Escalante has posted on multiple occasions on social
media extolling the Company, including making claims found by the arbitrator or court to be false. 8
We presume Dr. Escalante was paid for his “expert” testimony and promotion of the Company
and ask for all documents related to payments to Dr. Escalante or any person or entity affiliated
with Dr. Escalante by the Debtor or Mr. Owoc, or any person or entity under Mr. Owoc’s control,
within the last five years.

Separate and apart from testifying for and promoting the Company, Dr. Escalante is also,
evidently, a paid consultant to the Company. In August 2020, Dr. Escalante, with various other
authors, published an article on the effects of certain of the Company’s products. 9 The article
expressly admits that Dr. Escalante is a paid consultant and has served as a “scientific consultant

3
  See Monster Energy Company v. Vital Pharms., Inc., et al., Case No. EDCV18-1882-JGB (C.D. Cal.) (Docket No.
732-1 at 52 n.11).
4
  Id. at 51 (emphasis in original).
5
  Id. at 52 n.11.
6
  See Trial Tr. at 175:6‒14, Sept. 20, 2022, Monster Energy Company v. Vital Pharms., Inc., et al., Case No. EDCV18-
1882-JGB (C.D. Cal.).
7
  Id. at 176:22‒25.
8
  Dr. Escalante’s social media posts are attached hereto as Exhibit A.
9
  See Patrick S. Harty, et al, Effects of Bang® Keto Coffee Energy Drink on Metabolism and Exercise Performance in
Resistance-Trained Adults: A Randomized, Double-blind, Placebo- controlled, Crossover Study, J. of the Int’l Society
of Sports Nutrition (2020).
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for the Company.” 10 Mr. Owoc is well-aware of this; he has posted to his Instagram account about
Dr. Escalante and a “study” he purportedly performed on the Company’s products. 11

These facts disqualify Dr. Escalante from the Board. Regardless of whether Dr. Escalante has
been appointed to the Board as of the date of the letter, we ask for documents sufficient to identify
all services, including “consulting” services, provided by Dr. Escalante to the Company, Mr.
Owoc, or any persons or entities under their control, during the past five years, as well as all
communications between Dr. Escalante and Mr. Owoc during the same time period, so that we can
ensure our investigation is complete.

Eric Hillman

Mr. Hillman served as Chief Executive Officer of Europa Sports Partners, LLC (“Europa”). It is
undisputed that Europa has acted—and may still be acting as—a major distributor of the
Company’s BANG energy drinks. 12 Although it is unclear from publicly available information if
Mr. Hillman is still employed at Europa, the fact that the Company previously employed and paid
a company under Mr. Hillman’s leadership puts Mr. Hillman’s ability to make independent and
unbiased decisions about the Company into question.

Perhaps more concerning, Mr. Hillman also has a personal relationship with Mr. Owoc. During a
trial in 2020 involving the Company, Monster, and Reign Beverage Company, LLC, Mr. Owoc
testified that Mr. Hillman is “a buddy of [his who] owns Europa Sports, which is the biggest sports
nutrition distributor in the world. We’ve done probably hundreds of millions of dollars with
them.” 13 Mr. Owoc also listed Mr. Hillman as a personal reference on his application for the
Company’s liquor license in Georgia in August 2021. 14 And, like Dr. Escalante, Mr. Hillman has
promoted the Company on social media on multiple occasions, repeating claims found to be false
during the litigations, and engaging in public conversations on social media with Mr. Owoc in
support of the Company, during one of which Mr. Owoc discusses going to Mr. Hillman’s home. 15

These facts, taken together, are again per se disqualifying. However, regardless of whether Mr.
Hillman has been appointed to the Board as of the date of the letter, we ask for all communications
between Mr. Hillman and Mr. Owoc from the last five years, as well as any documentation of
payments to Mr. Hillman or any entity or person under his control from the Debtors, Mr. Owoc,
or any person or entity under their control.


10
   Id.
11
   Mr. Owoc’s social media posts are attached hereto as Exhibit B.
12
   Imran v. Vital Pharms., Inc., Case No. 18-cv-05758-JST, 2019 WL 1509180, at *4 (N.D. Cal. Apr. 5, 2019).
13
    Trial Tr. at 1050:13‒15, Sept. 1, 2020, Monster Energy Company and Reign Beverage Co., LLC, Case No. 19-
60809-CIV-RKA (S.D. Fla.).
14
   Agenda Item Report (Nov. 8, 2022, 9:56 PM),
https://douglasville.civicweb.net/document/57748/Consider%20a%20request%20for%20the%20alcoholic%20bever
ages%20.pdf?handle=E8EF026317FF4B6A9AAB3E3F92837333.
15
   See Exhibit B.
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Again, we do not understand, in light of the foregoing, how the Members were characterized as
“unaffiliated” in the First Day Affidavit; we presume that Mr. Owoc had not disclosed his close
relationships to the Members before this affidavit was presented to the Court. In any event, in
light of the relationships between the Members and the Debtors and Mr. Owoc, it is indisputable
that the Members are unable to serve as impartial members of the Debtors’ Board who will make
decisions to maximize the value of the Debtors’ bankruptcy estates for the benefit of all creditors.
There can be no doubt, at a minimum, that their appointment to the Board creates an appearance
of impropriety that will be detrimental to the restructuring process. It is clear that Mr. Owoc is
trying to hijack the restructuring process and does not understand or respect the necessity of having
truly independent members of the Board.

Finally, in addition to the foregoing document requests, and to assist in our discussion regarding
the reconstitution of the Board, we request that you provide us with copies of Dr. Escalante’s and
Mr. Hillman’s curriculum vitae and the due diligence that was performed on the Members prior to
their respective appointments, including any due diligence that led to the characterization of the
Members as “unaffiliated.”

Recommended Resolution

The Committee also has concerns regarding Steve Panagos’s lack of authority as sole member of
the Restructuring Committee (defined in the First Day Affidavit) to bind the Company in
restructuring matters. While we understand Mr. Panagos is in fact independent, under the current
structure, he is only permitted to provide advice to the Board—which is evidently controlled by
Owoc and the Members. To resolve the issues outlined in this letter, we recommend: (1) the
appointment of two different and independent board members; and (2) for those individuals to
join the Restructuring Committee, which should have binding authority, and work with Mr.
Panagos in steering the Company through its restructuring.

We look forward to hearing from you concerning the demands in this letter and hope that we can
resolve them without judicial intervention.

Very truly yours,

/s/ Jeffrey Cohen
Jeffrey Cohen

Enclosures:
Dr. Escalante’s social media posts (Exhibit A)
Mr. Owoc’s social media posts (Exhibit B)

cc:
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    Instagram post regarding scientific study in support of Bang




                      Date: August 10, 2020




                                   1
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Instagram post on August 16, 2019 regarding monthly shipment from Bang and consulting for the Company




                                       Date: August 16, 2019




                                                     2
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Instagram post advertising new Bang Energy flavor, while defending Bang in the comments




                                  Date: April 5, 2019




                                             3
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   Instagram post advertising Bang and stating own discount code




                      Date: January 18, 2019




                                        4
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Instagram post referencing Dr. Escalante’s study he purportedly performed on the Bang Keto coffee product line




                                          Date: September 29, 2020




                                                      1
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Jack Owoc tagged Eric Hillman in an Instagram post promoting Bang. Jack comments on the post to another Instagram
                            user: “Meet me [Jack] at Hillman’s [house] later this week!”




                                                Date: July 17, 2016




                                                       2
